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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

UNITED STATES OF AMERICA,                  §
                                           §
v.                                         §
                                           §       NO. 3:19-CR-0083-M
RUEL M. HAMILTON.                          §
                                           §


                                      ORDER

        On October 30, 2019, Defendant Ruel Hamilton filed the following eight motions:

           •   Motion to Strike Surplusage (ECF No. 98)
           •   Motion to Dismiss for Failure to Allege an Offense (ECF No. 99)
           •   Motion to Dismiss for Failure to Charge Required Elements Under the Fifth and
               Sixth Amendments (ECF No. 100)
           •   Motion to Dismiss for Failure to Screen for Grand Jury Bias (ECF No. 101)
           •   Motion to Dismiss the Indictment Due to the Erroneous Grand Jury Charge (ECF
               No. 102)
           •   Motion to Disclose Grand Jury Instructions (ECF No. 103)
           •   Motion to Compel Discovery (ECF No. 104)
           •   Motion for Jury Selection Process that Minimizes Juror Bias (ECF No. 105)

        The deadline for the Government to respond to these motions is November 13, 2019.

The deadline for Defendant to reply is November 20, 2019.

        SO ORDERED.

        November 1, 2019.
                                                            ______________________________
                                                            BARBARA M. G. LYNN
                                                            CHIEF JUDGE




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